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                                No. 24-10707


           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
                       ___________________________________

NATIONAL ASSOCIATION FOR GUN RIGHTS, INC.; TEXAS GUN RIGHTS,
   INC.; PATRICK CAREY; JAMES WHEELER; & TRAVIS SPEEGLE,
                                  Plaintiffs-Appellees,
                             v.

JAMES R. MCHENRY III, ACTING U.S. ATTORNEY GENERAL; UNITED
STATES DEPARTMENT OF JUSTICE; MARVIN G. RICHARDSON, IN HIS
  OFFICIAL CAPACITY AS ACTING DIRECTOR OF THE BUREAU OF
  ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES; BUREAU OF
       ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES,
                                    Defendants-Appellants
                       ___________________________________


           On Appeal from the United States District Court for the
               Northern District of Texas; No. 4:23-cv-830
                       _______________________

     BRIEF OF THE STATES OF NEW JERSEY, COLORADO,
  CONNECTICUT, DELAWARE, HAWAI’I, ILLINOIS, MARYLAND,
   MASSACHUSETTS, ATTORNEY GENERAL DANA NESSEL ON
 BEHALF OF THE PEOPLE OF MICHIGAN, MINNESOTA, NEVADA,
 NORTH CAROLINA, OREGON, RHODE ISLAND, VERMONT, AND
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                 CERTIFICATE OF INTERESTED PERSONS
      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

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         INTERESTS OF AMICI CURIAE AND INTRODUCTION

      Machineguns have been tightly regulated since 1934, when federal rules were

put into place in response to the widespread gang violence enabled by such weapons.

See The National Firearms Act of 1934, 26 U.S.C. ch. 53; H.R. Rep. No. 73-1780,

at 1 (1934) (“The gangster as a law violator must be deprived of his most dangerous

weapon, the machine gun.”); see also H.R. Rep. 99-495 (expressing “need for more

effective protection of law enforcement officers from the proliferation of machine

guns and high-powered assault-type weapons” in prohibiting transfer or possession

of machineguns). Federal law thus prohibits machineguns and “any part designed …

for use in converting a weapon to a machinegun.” 26 U.S.C. § 5845(b).

      Nonetheless, in recent years, States have confronted a staggering proliferation

of machinegun conversion devices (MCDs) that evade these restrictions. Firearms

equipped with an MCD can fire automatically at speeds exceeding even military

grade machineguns, causing mass devastation in seconds. Firearms tracing by law

enforcement reveals an exponential increase in the use of MCDs in violent crimes,

underscoring the public safety threat and law enforcement challenge they pose for

Amici States. That especially includes Forced Reset Triggers (“FRTs”), which have

recently proliferated across the country—with more than 100,000 sold by a single

company since 2020. See United States v. Rare Breed Triggers, LLC (“RBT”), 690

F. Supp. 3d 51, 58, 120 (E.D.N.Y. 2023). FRTs replace the standard trigger assembly


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on an AR-15-type rifle, allowing the shooter to achieve the same rapid, continuous

fire as a machinegun by simply “pull[ing] the FRT-15 trigger once and maintain[ing]

rearward pressure.” Id. at 65. A firearm with an FRT can fire faster than an M16

military rifle in automatic mode, see ROA.2007, so shootings involving firearm

equipped FRTs can increase the number of victims, injuries, and deaths.

      FRTs are new, but the mechanical principles on which they operate are not.

As far back as 1975, ATF has repeatedly classified devices that operate similarly to

FRTs as machineguns because they allow a shooter to fire “automatically more than

one shot, without reloading, by a single function of the trigger.” 26 U.S.C. § 5845(b);

see also, e.g., ROA.2706-10, ROA.2714, ROA.2742-44, ROA.2760-61, ROA.2784-

85, ROA.2820-22, ROA.2888-96, ROA.2233-45. Although the Eastern District of

New York correctly concluded that FRTs are illegal “machineguns” under federal

law, see RBT, 690 F. Supp. 3d at 58-59, the district court in this case held that FRTs

do not qualify under Garland v. Cargill, 602 U.S. 406 (2024). ROA.3709. The court

vacated and declared unlawful ATF’s classification of FRTs as machineguns, and

enjoined ATF from taking enforcement action regarding FRTs against a broad swath

of entities. ROA.3724-25. The district court also ordered ATF to return many of the

11,884 FRTs it previously confiscated by February 22, 2025. See ROA.4056-57.




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      Amici States1 submit this brief to lay out not only that the court below misread

Cargill and adopted an unduly cramped interpretation of federal law, but to explain

the many ways in which a federal enforcement gap against FRTs would harm Amici

States—not only by stripping ATF of its ability to address this public-safety threat

in the future, but by forcing ATF to put thousands of confiscated FRTs back onto

American streets. Indeed, Amici States have relied on ATF’s classification of FRTs

as machineguns and its corresponding enforcement efforts, which have helped to

protect Amici States’ residents from the proliferation of these dangerous weapons.

Absent federal enforcement, Amici States will have to incur greater costs to enforce

state laws against FRTs or FRT-equipped firearms, pass legislation, and increase law

enforcement and healthcare spending to respond to incidents involving firearms

equipped with FRTs. Moreover, the health and well-being of Amici States’ residents

would be at greater risk from devastating violence caused by FRTs. The interests of

Amici States and their residents will thus be seriously harmed if the vacatur of ATF’s

classification of FRTs is affirmed and ATF’s enforcement actions involving FRTs

continue to be enjoined. This Court should reverse the decision below.




1
 Amici States are New Jersey, Colorado, Connecticut, Delaware, Hawai’i, Illinois,
Maryland, Massachusetts, Attorney General Dana Nessel on Behalf of the People of
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Washington.

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                                  ARGUMENT

I.    FRTS ARE MACHINEGUNS UNDER 26 U.S.C. § 5845(B).

      This Court should reverse the district court’s erroneous finding that FRTs are

not machineguns under federal law. FRTs are machineguns because they convert

firearms to “shoot, automatically more than one shot, without manual reloading, by

a single function of the trigger.” 26 U.S.C. § 5845(b). Specifically, when operating

an FRT-equipped firearm, a “shooter need only pull the FRT-15 trigger once and

maintain rearward pressure for the gun to rapidly fire multiple rounds, requiring no

additional input from the shooter.” RBT, 690 F. Supp. 3d at 65. ATF has classified

devices that operate similarly to FRTs as machineguns for nearly five decades based

on this straightforward application of statutory text. See ROA.2706-10, ROA.2714,

ROA.2742-44, ROA.2760-61, ROA.2784-85, ROA.2820-22, ROA.2888-96,

ROA.2233-45.

      Garland v. Cargill only reinforces the longstanding recognition that FRTs are

machineguns within the meaning of federal law. See 602 U.S. 406 (2024). Cargill

defined “function of the trigger” to mean “the mode of action by which the trigger

activates the firing mechanism.” Id. at 416. Consistent with that understanding, the

Court delineated the federal distinction between machineguns and semi-automatic

weapons. On the one hand, machineguns allow “a shooter [to] fire multiple times,

or even continuously, by engaging the trigger only once.” Id. at 410. On the other,



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semiautomatic weapons allow the shooter to “fire only one time by engaging the

trigger,” and the shooter “must release and reengage the trigger to fire another shot.”

Id. at 411. In this way, the Court noted that “[t]he statutory definition [] hinges on

how many shots discharge when the shooter engages the trigger.” Id. at 422.

      The Court determined that non-mechanical bump stocks did not qualify as

machineguns because such devices did not fundamentally alter the weapon’s “firing

cycle.” Id. at 421. Rather, “[f]or each shot, the shooter must [still] engage the trigger

and then release the trigger to allow it to reset,” and “[a]ny additional shot fired after

one cycle is the result of a separate and distinct ‘function of the trigger.’” Id. The

Court reasoned that a weapon equipped with an external, non-mechanical bump

stock still possesses a “standard trigger mechanism,” id. at 416, and that the device

simply makes the “bump firing” technique “easier,” id. at 411-412, by reducing “the

amount of time that elapses between separate ‘functions’ of the trigger,” id. at 421.

And the Court also found that non-mechanical bump stocks do not “automatically”

enable repeated fire, but instead require “ongoing manual input” from the shooter

above and beyond “engaging the trigger one time.” Id. at 424.

      Cargill’s reasoning reinforces that FRTs qualify as machineguns. In contrast

with bump stocks, FRTs replace the trigger system of a semi-automatic rifle with a

structurally different trigger assembly. See RBT, 690 F. Supp. 3d at 64-65 (detailing

operation of FRTs). This modification “permits a shooter to fire multiple shots while


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engaging the trigger only once,” Cargill, 602 U.S. at 420 n.4, the core characteristic

of a machinegun under the Court’s analysis. See id. at 410. Just like a machinegun,

the only input required of a shooter is to “simply engage the trigger one time” and

maintain rearward pressure on the trigger. Id. at 426-27; RBT, 690 F. Supp. 3d at 65.

In this way, an FRT modifies a weapon similarly to an auto sear, a device that

“converts [a firearm] into a machinegun.” Cargill, 602 U.S. at 420 n.4; see also

United States v. Camp, 343 F.3d 743, 744-45 (5th Cir. 2003) (finding that a firearm

equipped with a switch that, when pressed, activated an electric motor that “caused

the original trigger to function in rapid succession” so that “[t]he weapon would fire

until either the shooter released the switch or the loaded ammunition was expended”

was a machinegun because it “required only one action—pulling the switch [the

shooter] installed—to fire multiple shots”).

      In addition to firing more than one shot “by a single function of the trigger,”

FRT-equipped firearms also do so “automatically.” Cargill, 602 U.S. at 424. “If

something more than a ‘single function of the trigger’ is required to fire multiple

shots, the weapon does not satisfy the statutory definition.” Id. The Supreme Court

found that a non-mechanical bump stock “requires more than a single function of

the trigger” due to the shooter’s need to maintain continuous “forward pressure on

the rifle’s front grip with [their] nontrigger hand.” Id. (emphasis added). There is no

such additional, manual work that needs to be performed by the shooter with an


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FRT-equipped firearm; the FRT does this work mechanically. See id. at 424-27;

RBT, 690 F. Supp. 3d at 65. Rearward pressure on the trigger “is not manual input

in addition to a trigger’s function—it is what causes the trigger to function in the

first place.” See Cargill, 602 U.S. at 425. Moreover, the shooter of an FRT-equipped

firearm does not need to “release and reengage” the weapon’s trigger or “take[]

pressure off” the trigger for each shot. See id. at 411, 420. Rather, the shooter of an

FRT-equipped firearm only needs to engage the trigger once to initiate and sustain

an automatic firing sequence. See RBT, 690 F. Supp. 3d at 65.

      In short, firearms equipped with FRTs fire “more than one shot … by a single

function of the trigger,” and this process is “automatic[].” See 26 U.S.C. § 5845(b);

see Cargill, 602 U.S. at 415-27. Accordingly, this Court should correct the district

court’s erroneous conclusion that FRTs are not machineguns under federal law, and

reject the wide-reaching relief granted to Plaintiffs-Appellees.

II.   THE DISTRICT COURT DECISION THREATENS PUBLIC SAFETY
      AND DIRECTLY HARMS AMICI STATES.
      Amici States, like the United States, are grappling with the recent and sharp

rise of MCDs, including FRTs, within their borders. Amici States have witnessed a

proliferation of MCDs and their corresponding use in crime. And although data on

FRTs is limited, a large number of FRTs have reached Amici States. As these MCDs

continue to proliferate, they will only threaten public safety even further, and work

even greater direct impacts on Amici States.


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      A.     Proliferation and Public Safety Impact of MCDs and FRTs.

      MCDs are a critical public safety issue. Cheap and accessible MCDs enable

semiautomatic firearms to fire automatically—so that they can match or exceed the

rate of fire of military machineguns. See Ex. 1 at 3, ECF No. 84 (Exs. to Intervention

Mot.) (Decl. of Eric Barlow). Semiautomatic weapons with an MCD can fire up to

20 bullets in one second. Id. at 4. This extraordinary rate of fire both decreases firing

accuracy and increases the likelihood of multiple victims, including bystanders. Id.

at 4-5; Ex. 4 at 3-4, ECF No. 84 (Decl. of Dr. Dennis Quinlan Jr.). For example, in

New Jersey, a shooter fired 28 rounds from an MCD-equipped firearm in just over

one second, seriously injuring three people. Ex. 1 at 5.

      Although federal law prohibits “any part designed … for use in converting a

weapon to a machinegun,” 26 U.S.C. § 5845(b), new technologies like 3D printing

have led to a massive proliferation of MCDs. For example, ATF found a “significant

rise” in MCD recoveries, F.Y. 2025 PERFORMANCE BUDGET CONG. SUBMISSION,

U.S. DEP’T OF JUSTICE – ATF, 11 (FEB. 2024), https://tinyurl.com/y283azsh,

recovering 5,454 MCDs from 2017 through 2021—a 570 percent increase over the

prior five-year period. NAT’L FIREARMS COMMERCE & TRAFFICKING ASSESSMENT:

CRIME      GUNS    –     VOLUME      TWO,       PART   VII    4    (Jan.   11,      2023),

https://tinyurl.com/yc2ujp6k.




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      This proliferation of MCD recoveries has contributed to increasing incidents

of machinegun fire, which “exploded by about 1,400% from 2019 through [2021].’”

Scott Glover & Curt Devine, A Device that Can Turn a Semi-Automatic Weapon into

a Machinegun in Moments Is Wreaking Havoc on American Streets, CNN (Aug. 30,

2022), https://tinyurl.com/5n7t5v5m. ATF further reports a “dramatic increase in the

use of [MCDs] in violent crimes over the last five years.” F.Y. 2024 CONGRESSIONAL

BUDGET SUBMISSION, ATF, 14 (MAR. 2023), https://tinyurl.com/445shfcw. That

includes an “approximately 400% increase” from 2022 to 2023 “in firearm traces

involving an MCD in which the trace was also associated with a crime of violence,”

including homicides, assaults, and the murder of a police officer. ROA.2011.

      Amici States have also seen a significant criminal footprint for MCDs. New

Jersey alone identified at least 26 criminal cases where MCDs have been recovered.

See Complaint at 1, 4-6, 51-54, Platkin v. Glock, N.J. Super Ct. No. ESX-C-286-24

(Dec. 12, 2024). ATF reports that state and local law enforcement are encountering

MCDs at crime scenes and requesting ATF’s aid in tracing them, including in Amici

States—392 in Illinois, and 130 in Michigan, and 60 in Colorado in 2023. Firearms

Trace Data - 2023, ATF, https://tinyurl.com/4z6c2ex6.

      FRTs, including the FRT-15 and Wide Open Trigger (“WOT”), have helped

fuel this recent proliferation of MCDs and their criminal use. Strikingly, even though

the proliferation of FRTs is underreported, see ROA.2007-08, ATF has conducted


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71 criminal examinations of FRTs from January 2021 through October 2023 as part

of cases involving a wide range of criminal conduct, ROA.2008-09. One

manufacturer sold 100,000 FRTs across the United States in two years, see RBT, 690

F. Supp. 3d at 58; see also Ex. 2 at 2, ECF 84 (Decl. of Melissa Rodriguez in RBT,

No. 23-cv-369 (E.D.N.Y.)), shipping packages to at least 47 States, see Ex. 3 at 2,

ECF 84 (Decl. of Cheryl Harrell in RBT, No. 23-cv-369 (E.D.N.Y.)). The impact on

Amici States is clear: among other shipments, RBT made 364 deliveries to New

Jersey addresses in 2021 and 2022, see Ex. 1 at 6, and sold approximately 560 FRT-

15s to a dealer in Massachusetts, see Ex. 3 at 2; see also ROA.2010 (prosecution for

FRT possession in the District of Massachusetts); Ex. 1 at 6 (noting at least 25

packages containing one or more suspected WOTs shipped to New Jersey in 2021).

Indeed, at least 23 FRTs shipped to individuals in New Jersey have been recovered

by law enforcement authorities. See Ex. 1 at 7.

      The resolution of this challenge risks furthering FRTs’ proliferation to an even

greater degree. Plaintiffs-Appellees demand, and the district court granted, vacatur

of ATF’s classification and a nationwide injunction against enforcement. That relief

would eliminate or undermine ATF’s ability to prevent dissemination of FRTs into

Amici States and to enforce federal law against sellers and possessors, and require

ATF to return, by February 22, 2025, many of the 11,884 FRTs it had confiscated.

See ROA.4056-57 (order); ROA.2011-12 (ATF projecting court order will worsen


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proliferation of FRTs). An order that prohibits ATF from taking enforcement actions

to prevent dissemination of FRTs (let alone one, as below, that enjoins prosecutions)

and mandates their return to dealers and possessors would dramatically expand the

proliferation of FRTs into Amici States. See ROA.2001 (indicating ATF’s consistent

classification as machineguns of parts like FRTs helps limit the availability of such

products). Even in States where FRTs or FRT-equipped firearms are unlawful, their

spread—absent federal regulation—is inevitable. See Ex. 1 at 7.

      FRTs and the automatic fire they are designed to create will produce increased

death, injury, and long-term impacts on survivors and communities in Amici States.

See Ex. 4 at 3-6. “Firearms with an accelerated rate of fire often cause more severe

injuries and damage for victims,” as well as increase the “number of total victims”

affected by a shooting. Id. at 3. Firearms that fire both at a rapid rate and with a high

velocity—like AR-15s equipped with FRTs—are especially pernicious. See id. at 3-

4. “Combining a rapid rate of fire with a high velocity means that a victim is more

likely to receive multiple gunshot wounds while also increasing the probable

severity of those wounds,” and it also “increases the probability that a higher number

of victims will experience these impacts.” Id. at 3. That can also “lead[] to more

medical complications for patients.” Id. at 3-4.




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      B.     Impacts On Amici States.

      Not only does the order worsen the public-safety threat presented by FRTs,

but the district court’s decision will force Amici States to fill the federal enforcement

gap and combat the proliferation of FRTs to protect the safety of their residents.

Absent federal enforcement, FRTs will proliferate in the Amici States—even in

states where such devices are already fully or partly banned, given the patchwork of

state firearms laws across the country. Ex. 1 at 7. And Amici States would no longer

be able to rely on ATF’s help in removing these MCDs from their communities. See

id. at 7, 9. In order to effectively confront this threat, Amici States will be required

to incur substantial law enforcement, healthcare, and legislative costs.

      State Law Enforcement Costs. Absent full ATF enforcement against FRTs as

machineguns, Amici States would need to expend greater resources enforcing state

laws banning FRTs or FRT-equipped firearms. See, e.g., Gen. Land Office v. Biden

(“GLO”), 71 F.4th 264, 274 (5th Cir. 2023) (recognizing that States have an “interest

in [their] fiscal policy” that suffers when States must “redirect resources” due to

change in federal policy); California v. ATF, 718 F. Supp. 3d 1060, 1073-78 (N.D.

Cal. 2024) (finding that a state was injured by the “increased cost of policing and

law enforcement” based on gaps in federal regulation of ghost guns). The threatened

costs are substantial. ATF estimates that RBT alone has distributed at least 100,000

FRTs, ROA.2001-02, and other companies produce copycats, ROA.2003. Indeed,


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ATF has retrieved at least 11,884 FRTs. ROA.3739-40. And ATF’s evidence

indicates each FRT retrieval takes approximately 16 to 24 hours, split between

intelligence professionals and special agents. ROA.2004-07.

      The freeze of ATF enforcement against FRTs—especially nationwide and in

conjunction with the required return of thousands of FRTs by February 22, 2025—

would place a heavy strain on state law enforcement. A number of States already

prohibit the use of firearms equipped with FRTs or prohibit FRTs standing alone.

See, e.g., N.J. Stat. Ann. § 2C:39-1(i) (New Jersey law definition of unlawful

machinegun covers firearms equipped with FRTs); 720 Ill. Comp. Stat. Ann. 5/24-

1(a)(14) (Illinois prohibition on devices that increase the rate of fire of

semiautomatic weapons). But FRTs still end up within Amici States, and Amici

States will no longer be able to rely on ATF assistance in confiscating them or

bringing enforcement actions against possessors or distributors. See Ex. 1 at 7, 9.

Said simply, the district court’s ruling will force Amici States to bear the full

responsibility and extensive financial costs of enforcing prohibitions on the sale,

distribution, and possession of FRTs and FRT-equipped firearms. See id. at 8-9

(explaining district court order would require State to “divert[] greater law

enforcement resources to enforce” state ban).

      Amici States will also suffer considerable additional costs associated with

crimes that involve FRTs. Absent a federal prohibition, more FRTs will be used in


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crimes within Amici States. See id. at 7 (explaining, based on patterns from other

firearms and parts, that dissemination is certain absent federal prohibition even in

States that bar FRTs—given significant interstate gun trafficking networks). And the

use of FRTs in crime imposes special burdens on States. FRTs (like other MCDs)

dramatically increase the rate of fire a perpetrator achieves, supra at 1-2, 8-11, and

Amici States “incur[] greater costs when responding to crime scenes involving

devices that increase a firearm’s rate of fire” even compared to other shooting

crimes. Ex. 1 at 8. Since the “accelerated rate of fire [is] likely to cause increased

casualties,” law enforcement would need to commit further law enforcement officers

to the scene to interview a “higher number of victims and witnesses”; send additional

EMTs who can give “emergency medical care to more individuals injured”; and

require more time from the medical examiner given the increased number of deaths.

Id. And many States would additionally have to expend or divert resources to

training officers on recognizing and safely handling firearms equipped with FRTs.

See id. at 9.

       Healthcare Costs. Halting federal enforcement against FRTs would impose

considerable healthcare expenditures too. Cf. DeOtte v. Nevada, 20 F.4th 1055,

1068, 1070 (5th Cir. 2021) (finding States have a “financial interest” in protecting

“state fisc” from a “void” left by federal law where gap “would cause the state

financial injury through strain on its healthcare programs”). Firearms with an


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accelerated rate of fire, like FRT-equipped weapons, “often cause more severe

injuries … [and] a higher number of total victims.” Ex. 4 at 3; see also supra at 11.

These impacts “place[] significant strain on the medical system,” requiring a hospital

to “call in additional staff[,] … increase security to protect the patients and staff[,]

… [and] divert patients to other hospitals, which delays their ability to get much-

needed care.” Ex. 4 at 4. All told, “[t]he more significant injuries caused by firearms

with an accelerated rate of fire and higher firing velocity leads to more medical

complications for patients, which increases costs for hospitals and healthcare

providers in treating patients.” Id. at 3-4. State-owned hospitals in the Amici States

would therefore be affected by such projected cost increases. See, e.g., N.J. Stat.

Ann. § 18A:64G-6.1a (law governing New Jersey’s state-owned hospital).

      Legislative Costs. If ATF cannot enforce federal law to address FRTs, some

Amici States must expend resources enacting legislation to address that gap. Cf.

GLO, 71 F.4th at 274 (finding, in the context of standing, that a State’s need to “alter

its laws” is an injury, since “pressure to change state law affects quasi-sovereign

interest”); accord California v. ATF, 718 F. Supp. 3d at 1073-78 (agreeing, in

challenge to federal ghost guns policy, that States suffer harm from “enactment and

implementation of state legislation” if they “ha[ve] to incur costs to regulate because

ATF is not regulating”). New Jersey is again illustrative. Although New Jersey law

prohibits firearms equipped with FRTs, it does not restrict FRTs standing alone. See


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N.J. Stat. Ann. §§ 2C:39-1(i); 2C:39-5(a). Absent federal enforcement, States would

need to enact legislation to bar the dissemination and possession of FRTs directly to

address this public-safety threat. See Ex. 5 at 6, ECF No. 84 (Decl. of B. Stephan

Finkel); Ex. 6 at 2, ECF No. 84 (Decl. of Todd W. Daloz) (same for Vermont). New

Jersey has initiated the process of drafting legislation to make clear that particular

firearm parts, including FRTs, are illegal. Ex. 5 at 6-8. But enacting new statutes

requires resources. See id. at 4-8. FRT-specific legislation and its costs are yet

another consequence of the district court’s decision because if ATF had the power

to stop the distribution of FRTs, the need for such legislation would be mitigated.

                                  CONCLUSION

      This Court should reverse the district court’s order.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 24, 2025, I filed the foregoing Amici States’

Brief as Amicus Curiae in support of Defendant-Appellants with the Clerk of the

Court for the United States Court of Appeals for the Fifth Circuit using the appellate

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